(1 of 2), Page 1 of 2      Case: 24-5538, 02/06/2025, DktEntry: 49.2, Page 1 of 2




                                               Exhibit A




              February 5th, 2025

              Email exchange between Appellant and Appellees' counsel,

              demonstrating Appellees’ refusal to negotiate a fair resolution

              regarding the extension and collection efforts.
(2 of 2), Page 2 of 2                   Case: 24-5538, 02/06/2025, DktEntry: 49.2, Page 2 of 2
    2/6/25, 5:47 PM                                              Gmail - RE: [EXTERNAL] Conferral on extension of time



                                                                                                         John Mark Suhy <jmsuhy@gmail.com>



      RE: [EXTERNAL] Conferral on extension of time
      2 messages

      Moseley, Jeremy <jmoseley@spencerfane.com>                                              Wed, Feb 5, 2025 at 1:30 PM
      To: John Mark Suhy <jmsuhy@gmail.com>, "Ratinoff, Jeff" <jratinoff@spencerfane.com>
      Cc: "Kern, Kelsey" <kkern@spencerfane.com>, "Garcia, Michelle" <Mgarcia@spencerfane.com>, "Picone, John"
      <jpicone@spencerfane.com>, "Bustos, Kelsey" <kbustos@spencerfane.com>

         Mr. Suhy,

         Due to the other motions we have been briefing related to this appeal and a previously scheduled IP conference two of
         our lawyers will be attending, we are filing a motion ask the court to extend the deadline 21 days to March 17 for the
         answer brief. Do you oppose this extension of time for the answer brief?

         Best,
         Jeremy



         Jeremy A. Moseley Partner
         Spencer Fane LLP

         1700 Lincoln Street, Suite 2000 | Denver, CO 80203
         O 303.839.3741
         jmoseley@spencerfane.com | spencerfane.com




      John Mark Suhy <jmsuhy@gmail.com>                                                           Wed, Feb 5, 2025 at 1:48 PM
      To: "Moseley, Jeremy" <jmoseley@spencerfane.com>
      Cc: "Ratinoff, Jeff" <jratinoff@spencerfane.com>, "Kern, Kelsey" <kkern@spencerfane.com>, "Garcia, Michelle"
      <Mgarcia@spencerfane.com>, "Picone, John" <jpicone@spencerfane.com>, "Bustos, Kelsey" <kbustos@spencerfane.com>

         Mr. Moseley,

         I oppose the extension unless your client agrees to place all
         collection efforts, including garnishments and other enforcement
         actions, on hold pending the outcome of this appeal.

         If your client is willing to suspend collections during this time, I
         have no objection to the extension and am open to a longer timeframe
         if needed.

         Let me know how your client wishes to proceed.

         Respectfully,

         John Mark Suhy
         [Quoted text hidden]




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